            Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


IN THE MATTER OF                              :
THE EXTRADITION OF                            :
MARIA DE GRACA LOPES                          :       Case No. _____________
LORENCO BRUNNER                               :

                                          COMPLAINT
                                        (18 U.S.C. § 3184)

       I, the undersigned Assistant United States Attorney, being duly sworn, state on

information and belief that the following is true and correct:

       1.      In this matter, I represent the United States in fulfilling its treaty obligation to the

Republic of the Philippines.

       2.      There is an extradition treaty in force between the United States and the Republic

of the Philippines (referenced hereinafter as the “Treaty”). See Extradition Treaty Between the

Government of the United States of America and the Government of the Republic of the

Philippines, U.S.-Phil., Nov. 13, 1994, S. TREATY DOC. NO. 104-16 (1995).

       3.      Pursuant to the Treaty, the Government of the Philippines has submitted a formal

request through diplomatic channels for the extradition of Maria de Graca Lopes Lorenco

BRUNNER (“BRUNNER”), a citizen of Portugal and a naturalized citizen of the United States.

Tom Heinemann, an attorney in the Office of the Legal Adviser of the U.S. Department of State,

has provided the U.S. Department of Justice with a declaration authenticating a copy of the

diplomatic note by which the request for extradition was made and a copy of the Treaty, stating

that the offense for which extradition is demanded is provided for by the Treaty, and confirming

that the documents supporting the request for extradition are properly certified by the principal

U.S. diplomatic or consular officer in the Philippines, in accordance with the Treaty and 18



                                                  1
              Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 2 of 7




U.S.C. § 3190, so as to enable them to be received into evidence. The declaration from the U.S.

Department of State with its attachments, including a copy of the diplomatic note from the

Philippines, a copy of the Treaty, and the certified documents submitted in support of the request

are filed with this complaint and incorporated by reference herein. See Ex. 1 at 1-2 (Declaration);

id. at 3-29 (Treaty); id. at 30-119 (submission from Philippines).

         4.      According to the submissions the Government of the Philippines provided, on

April 16, 2019, BRUNNER was charged with the frustrated parricide of her husband, Hans Peter

Wolfgang Brunner (“Mr. Brunner”), in violation of the Philippine Revised Penal Code, Articles

246 (Parricide) and 50 (punishment of “frustrated felony”). 1 The charge followed an

investigation and probable cause finding on February 18, 2019. Judge Carolina F. De Jesus of

the Regional Trial Court of Nasugbu, Batangas issued an arrest warrant on May 3, 2019. The

warrant was returned to the court unserved, as BRUNNER was not found in the Philippines.

Judge De Jesus, thus, reissued an “Alias Warrant of Arrest” on June 26, 2020, which remains

valid.

         5.      The submissions from the Philippines present the following facts as grounds for

the charge against BRUNNER, based on numerous witness statement affidavits, screen shots of

text messages, and a medical report:

         a.      On the morning of October 7, 2018, BRUNNER and Mr. Brunner (together, “the

Brunners”) were alone with their pet dog at their residence at the Maya-Maya Cottages in

Nasugbu (municipality), Batangas (province), Philippines. Jocelyn Dondoy, who worked with

her husband, Pheter Dondoy, as the Brunners’ caretaker, stated that BRUNNER had called



1
 The text of the relevant statutes is included in the exhibit to this complaint. See Ex. 1 at 108,
110.
            Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 3 of 7




Jocelyn that morning to tell her and Pheter not to come that day. Pheter Dondoy also received a

text message from BRUNNER on October 7, 2018, at 10:56 a.m., stating “Don’t come today.”

See Ex. 1 at 84 (screenshot of text message).

       b.      According to Mr. Brunner, on the morning of October 7, 2018, he and

BRUNNER were alone in their house. At approximately 11:00 a.m. on October 7, while he was

sitting alone on a chair on the veranda, he suffered repeated blows to the back of his head. He

reached back and felt that his skull had been cracked and was “oozing” blood onto his neck. Mr.

Brunner remembers fleeing to the house of his neighbor, Otto Hammer, and blacking out. See

Ex. 1 at 57-58 (affidavit of Mr. Brunner).

       c.      Virgilio Estanio y Bauyon (“Estanio”), who, along with his wife, Marivic Estanio,

was employed by Hammer, was inside Hammer’s house on the morning of the attack. Estanio

stated that at about 11:30 a.m., he and his wife heard knocking at the main door of the house.

Estanio opened the door to find Mr. Brunner with his head and face “full of blood.” Estanio let

Mr. Brunner inside the house and had him sit down. When Estanio asked Mr. Brunner what had

happened, Mr. Brunner said that his wife had repeatedly hit him on the head with a hammer.

Estanio called for Maya-Maya Cottage security guards to come and take Mr. Brunner to the

hospital, then called Pheter Dondoy and told him what had happened. See Ex. 1 at 75-76

(translated affidavit of Estanio)

       d.      At around 12:00 p.m., Pheter Dondoy received Estanio’s call and went to the

Brunners’ residence. A few minutes later, he called Jocelyn Dondoy, saying he was going to the

hospital to check on Mr. Brunner and asking Jocelyn to go their employers’ house because no

one had seen BRUNNER. Jocelyn Dondoy stated that when she arrived she saw blood “all over”

the receiving area of the house, on one of the chairs on the terrace, around the front door, and on



                                                3
            Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 4 of 7




the stairs going to the swimming pool. She could not open the Brunners’ bedroom door because

she did not have the key to it, but she believed that BRUNNER was inside because BRUNNER’s

car was still in the garage. See Ex. 1 at 71-72 (translated affidavit of Jocelyn Dondoy).

       e.      Police Officer-1 Ronnie Glenn Bagsic (“PO1 Bagsic”) and other police officers

arrived at the Brunners’ house after 2:00 p.m. In addition to seeing blood in various locations in

the house, PO1 Bagsic found a metal meat tenderizer hammer with bloodstains on one of the

tables on the terrace. He showed it to Jocelyn Dondoy, who identified it as belonging to the

Brunners. See Ex. 1 at 98-100 (translated affidavit of PO1 Bagsic).

       f.      One of the police officers entered the Brunners’ bedroom through the window and

opened the door from the inside. BRUNNER was found lying on the bed, and inside her

bathroom were BRUNNER’s clothes soaked in blood. Police called for an ambulance to take

BRUNNER to the hospital, where she was held for observation and subsequently discharged. Id.

       g.      The morning of the attack, Rudilla Jatico y Baya (“Jatico”) was working as a

caretaker for one of the Brunners’ neighbors at the Maya-Maya Cottages. Jatico stated that at

approximately 11:00 a.m. on the day of the attack, she was on her employer’s terrace when she

saw Mr. Brunner standing on his terrace, holding onto the terrace railing. Jatico noticed what

she described as a “red thing” on Mr. Brunner’s head and thought that Mr. Brunner had dyed his

hair. A few minutes later, she saw BRUNNER pull Mr. Brunner from the terrace railing and

physically drag him inside their house. See Ex. 1 at 103 (translated affidavit of Jatico)

       h.      Jatico then heard shouting and a loud commotion from inside the Brunners’

house, but, because they often argued, she thought that it was just an ordinary argument. She

saw Mr. Brunner return outside to the terrace and sit on a chair bent over holding his head, which
            Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 5 of 7




still had “something red.” Later, when shown photos of Mr. Brunner after the attack, she

recognized that the “red thing” she had seen on Mr. Brunner’s head was actually blood. Id.

       i.      On October 9, 2018, Mr. Brunner awoke after spending two days in a coma and

found himself in the Jabez Medical Center in Nasugbu, where he had undergone emergency

surgery. A Medico-Legal Report, dated November 3, 2018, states that Mr. Brunner suffered

multiple injuries, including: blunt force trauma to the head from a metal object causing a

patterned, rectangular imprint with equally interspersed puncture marks on his head; a linear

fracture at the left parietal and occipital bone; subcutaneous and subgaleal hematoma; multiple

hyperdensities seen on a CT scan; and multiple soft tissue injuries and lacerations on the scalp.

See Ex. 1 at 60-61 (medical report).

       j.      After regaining consciousness in the hospital, Mr. Brunner told PO1 Bagsic that

he believed it was his wife who had tried to kill him. Mr. Brunner explained that he had recently

inherited real properties valued at over €5.9 million (over US$6.4 million) after the death of his

father, and he and BRUNNER had disagreed about how to spend the money.                   He and

BRUNNER had a separation of properties arrangement, under which she did not have any right

to the fortune except through an inheritance from Mr. Brunner upon his death. Prior to the

attack, Mr. Brunner had emphasized to BRUNNER her lack of any right to how he spends his

inheritance while he was alive.        See Ex. 1 at 58 (affidavit of Mr. Brunner); id. at 62-64

(supplemental affidavit of Mr. Brunner).

       k.      Later, after a review of his credit card transaction history, Mr. Brunner found out

that on or about October 4, 2018—three days before the attack—BRUNNER had purchased a

one-way airline ticket from the Philippines without telling him. See Id. at 53, 63. Philippine

Bureau of Immigration records show that BRUNNER did, in fact, depart the Philippines on



                                                  5
            Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 6 of 7




October 9, 2018—two days after the attack—on Turkish Airlines flight number TK085 bound

for Istanbul, Turkey. See Ex. 1 at 65 (immigration records).

       l.      On the morning of October 9, 2018, just prior to fleeing for Turkey, BRUNNER

sent multiple text messages instructing Pheter Dondoy to urgently clean the blood at the

Brunners’ residence.     According to screenshots Pheter Dondoy provided, at 6:39 a.m.

BRUNNER wrote, “Make sure all the blood is gone, also clean the pillows in the living room

that have bloo[d].” At 7:46 a.m. she wrote, “Please clean it all today now[.]” At 8:13 a.m.

BRUNNER wrote, “I need to you bring me some clothing to Makati medical after you clean the

house please also charge for I phone [sic] it’s downstairs next to the printer also I pads [sic],

bring pants and tops and underwear please clean the house[.]” See Ex. 1 at 85-90 (screenshots of

text messages).

       m.      According to Mr. Brunner, his wife did not visit him while he was in the hospital

and, despite his repeated attempts to contact her via phone and email, has not communicated

with him since the attack. Mr. Brunner also stated that the Brunners’ adult daughter, Julia, who

lived in New York, had also been unable to reach BRUNNER. See Ex. 1 at 52 (summary of

testimony by Mr. Brunner).

       6.      The submission from the Philippines contains a copy of BRUNNER’s clearance

from the Philippines National Bureau of Investigation, which has BRUNNER’s photograph, date

and place of birth, and fingerprint. The submission also includes witness statement affidavits

highlighted above establishing her identity, her presence at the Brunners residence when Mr.

Brunner was attacked, her dragging Mr. Brunner from the veranda to inside their home while he

had a “red thing” on his head, and the presence of her blood-soaked clothes inside her locked

bedroom door with her inside.
             Case 1:24-mj-00049-GMH Document 1 Filed 02/06/24 Page 7 of 7




        7.      According to a records search and physical surveillance conducted by the U.S.

Marshals Service, BRUNNER is expected to be found in Washington, DC, within the

jurisdiction of this Court.

        8.      Based upon her record of flight to date, BRUNNER likely would flee if she

learned of the existence of a warrant for her arrest in the United States.



        WHEREFORE, the undersigned requests that a warrant for the arrest of the aforenamed

person be issued in accordance with 18 U.S.C. § 3184 and the extradition treaty between the

United States and the Philippines, so that the fugitive may be arrested and brought before this

Court to the end that the evidence of criminality may be heard and considered.



                                                 /s/ Conor Mulroe
                                                _________________________
                                               Conor Mulroe
                                               NY Bar Number 5289640
                                               Assistant United States Attorney
                                               601 D Street NW
                                               Washington, D.C. 20530
                                               (202) 330-1788
                                               conor.mulroe@usdoj.gov



Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on this 6th day of

February, 2024.
                                                          Digitally signed by G.
                                                          Michael Harvey
                                                          Date: 2024.02.06
                                       ______________________________________
                                                          13:04:07 -05'00'
                                               G. Michael Harvery
                                               United States Magistrate Judge




                                                  7
